Case 2:02-cv-02951-SH|\/| Document 33 Filed 06/17/05 Page 1 of 4 Page|D 32

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IN THE UNITED sTATEs DISTRICT coURT ""
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 17 FH 3_[,
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W`). .`)" "“2 _
JOHN E. SHELTON, f {Y .[H, M{:MPH[S

Plaintiff,
No. 02-2951 MaA

'V'.

SHELBY COUNTY, et al.,

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Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION TO REINSTATE PLAINTIFF'S
NONSUITED COMPLAINT AND MOTION TO DEEM ACTION TIMELY COMMENCED

 

Plaintiff John E. Shelton filed a Complaint in the Circuit
Court of Shelby County, Tennessee for the Thirtieth Judicial
District at Memphis on December 2, 2002. The Complaint stated eight
claims for relief: workers' compensation; violation of Tenn. Code
Ann. § 8-8-302 §§ §§g;; assault and battery; false imprisonment;
negligence; gross negligence; deprivation of Shelton's Fourth and
Fourteenth Amendment rights in violation of 42 U.S.C. § 1983; and
intentional infliction of emotional distress. The Defendants
removed to federal court on December 12, 2002. On February 7, 2003,
the court entered an order remanding all state law claims to the
state courts. On November 21, 2003, the court granted a “Stipulated
Voluntary Dismissal Without Prejudice” of the remaining federal
claim under § 1983. Judgment dismissing this case without prejudice

was entered on December 2, 2003.

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On November 22, 2004, Shelton filed a “Motion to Reinstate
Plaintiff's Nonsuited Complaint.” On December 10, 2004, the
Defendants filed a response. On December 16, 2004, Shelton filed a
“Motion to DeenlAction Timely Commenced.” On December 29, 2004, the
Defendants filed a response to the “Motion to Deem Action Timely
Commenced.” On February 3, 2005, Shelton filed a reply to the
Defendants' response.

“An action dismissed without prejudice leaves the situation
the same as if the suit had never been brought.” cher v. Ribicoff,
304 F.2d 427, 428-29 (6th Cir. 1962). Consequently, a party who
seeks relief on claims that were dismissed without prejudice in an
earlier suit must file a new complaint stating those claims. Filing
a new suit, by definition, does not involve “reinstating” a suit
that has been dismissed.

Shelton claims that he attempted to file a new complaint, but
was prevented from doing so by various individuals in the United
States Court Clerk’s Office for the Western District of Tennessee.
Whether or not that is the case, Shelton's attempt to file a new
suit has nothing to do with this case, No. 02-2951, which has been
dismissed. Shelton does not argue that dismissal of this case was
imprudent or improper. Consequently, whatever relief Shelton seeks

cannot be provided by “reinstating” Case No. 02-2951.1

 

1This order does not affect Shelton’s ability to file a new complaint
stating his § 1983 claim or to argue that the new complaint should be considered
to have been filed on a date other than its actual filing date.

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For the foregoing reasons, Plaintiff's “Motion to Reinstate
Plaintiff's Nonsuited Complaint” is DENIED and Plaintiff's “Motion

to Deem Action Timely Commenced” is DENIED.

So ordered this th & day of June 2005.

SAMUEL H. MAYS, JR.
UNI'I'ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:02-CV-02951 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

